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UNITED STATES DISTRICT COURT -
MIDDLE DISTRICT OF FLORIDA, 3:52 -
CASE NO.

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JASON DEVANE, individually, ce

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MEDICREDIT, INC., a foreign corporation,

Plaintiff,

Vv.

 

Defendant.
/
COMPLAINT FOR VIOLATIONS OF THE TCPA
JURY DEMAND
1. Plaintiff alleges violations of the Telephone Consumer Protection Act,

47 U.S.C §227, et seq. (“TCPA”).
JURISDICTION AND VENUE
2. This Court has jurisdiction under 28 U.S.C. § 1331 as well as 47
US.C § 227, et seq. Venue in this District is proper because Plaintiff resides here
and Defendant placed telephone calls into this District.
PARTIES
3. Plaintiff JASON DEVANE, is a natural person, and citizen of the

State of Florida, residing in Polk County, Florida.
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4. Defendant, MEDICREDIT, INC., is a foreign corporation with its
principal place of business located at Three Cityplace Drive, Suite 690, St. Louis,
Missouri 63141.

5. Defendant regularly uses the mail and telephone in a business the
principal purpose of which is the collection of medical debts.

6. Defendant regularly collects or attempts to collect debts for other
parties.

7. Defendant was acting as a debt collector with respect to the collection
of an alleged debt from Plaintiff.

FACTUAL ALLEGATIONS

8. Defendant sought to collect from Plaintiff an alleged debt arising for
unpaid medical services.

9. Based upon information and belief, the alleged debt at issue was owed
by someone else.

10. Defendant left the following prerecorded message(s) which were

recorded on Plaintiff's cellular telephone voice mail system during the past year:

Message #1’
Hello, I am calling about important personal business. Please have

MICHAEL ARNOLD call me back as soon as possible at the
following number - MICHAEL ARNOLD it is imperative that you
call our office today — again, our number is 800-888-2238.

 

' Script which is both boldfaced and underlined denotes the use of artificial voice technology as well.

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Message #2
Hello, I am calling about important personal business. Please have

MICHAEL_ARNOLD cali me back as soon as possible at the
following number - MICHAEL ARNOLD it is imperative that you
call our office today — again, our number is 800-888-2238.

Message #3
Hello, I am calling about important personal business. Please have

MICHAEL ARNOLD call me back as soon as possible at the

following number - MICHAEL ARNOLD it is imperative that you

call our office today — again, our number is 800-888-2238.

11. Based upon information and belief, Defendant left hundreds of similar
or identical messages on other occasions within four years of the filing of this
complaint.

12. Based upon information and belief, Defendant used an automatic
telephone dialing system or a pre-recorded or artificial voice to place numerous
telephone calls to Plaintiff's cellular telephone within four years of the filing of
this complaint.

13. Defendant states in its promotional material the following:

Predictive Dialing Technology

To maximize the time collectors spend negotiating payment,

they are connected to sophisticated, state-of-the-art,

collection-based predictive dialing technology. This minimizes

call loss, with outbound call! loss at less than 5%. Normal

industry figures average 10% or more. Our inbound call loss

is less than 1%.

Source: http://www.theoutsourcegroup.com/pdf/TOG-brochure.pdf (last
accessed on April 3, 2012).
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14. A predictive dialer is considered an automatic telephone dialing
system (ATDS) pursuant to FCC rulings. See generally, Griffith v. Consumer

Portfolio Serv., Inc., No. 10-c-2697 (N.D. Il. Aug. 16, 2011).

 

15. Plaintiff did not expressly consent to Defendant’s placement of
telephone calls to his cellular telephone by the use of an automatic telephone
dialing system or calls which contained a pre-recorded or artificial voice prior to
Defendant’s placement of the calls.

16. None of Defendant’s telephone calls placed to Plaintiff were for
“emergency purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

17. Defendant willfully or knowingly violated the TCPA.

COUNT I
VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

18. Plaintiff incorporates Paragraphs | through 17.

19. Defendants made unsolicited commercial telephone calls to Plaintiff's
cellular telephone using either an automatic telephone dialing system or which
contained a prerecorded message and/or an artificial voice.

20. The calls were made without the prior express consent of the
Plaintiff.

21. The aforesaid calls were made in violation of the TCPA, 47 U.S.C. §

227(b)(1)(A) (ii).
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WHEREFORE, Plaintiff requests that the Court enter judgment in his favor

and against Defendant MEDICREDIT, INC. for:

(a) Statutory damages at $500 dollars per call;
(b) Willful damages at $1500 dollars per call;
(c) An injunction requiring Defendant to cease all communications
with Plaintiff in violation of the TCPA;
(d) Reasonable costs; and
(e) Such further relief as this Court may deem appropriate.
JURY DEMAND
Plaintiff demands trial by jury.

Dated this 4" day of April, 2012.

SCOTT D. OWENS, ESQ.
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